     Case 3:21-cv-03496-AMO          Document 294       Filed 11/11/24   Page 1 of 4



1    Kenneth A. Gallo (pro hac vice)
     Paul D. Brachman (pro hac vice)
2    PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     2001 K Street, NW
3    Washington, DC 20006-1047
     Telephone: (202) 223-7300
4    Facsimile: (202) 204-7420
     Email: kgallo@paulweiss.com
5    Email: pbrachman@paulweiss.com

6    William B. Michael (pro hac vice)
     Crystal L. Parker (pro hac vice)
7    Daniel A. Crane (pro hac vice)
     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
8    1285 Avenue of the Americas
     New York, NY 10019-6064
9    Telephone: (212) 373-3000
     Facsimile: (212) 757-3990
10   Email: wmichael@paulweiss.com
     Email: cparker@paulweiss.com
11   Email: dcrane@paulweiss.com

12   Joshua Hill Jr. (SBN 250842)
     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
13   535 Mission Street, 24th Floor
     San Francisco, CA 94105
14   Telephone: (628) 432-5100
     Facsimile: (628) 232-3101
15   Email: jhill@paulweiss.com

16   Attorneys for Defendant Intuitive Surgical, Inc.

17   [Additional counsel listed on signature page]

18                               UNITED STATES DISTRICT COURT

19                            NORTHERN DISTRICT OF CALIFORNIA

20                                   SAN FRANCISCO DIVISION

21
     SURGICAL INSTRUMENT SERVICE                            Case No. 3:21-cv-03496-AMO
22   COMPANY, INC.,
                    Plaintiff,
23         v.                                               DEFENDANT’S INTERIM
                                                            SEALING MOTION IN
24   INTUITIVE SURGICAL, INC.,                              CONNECTION WITH
                  Defendant.                                DEFENDANT’S MOTION IN
25                                                          LIMINE NO. 4

26
                                                            The Honorable Araceli Martínez-Olguín
27

28


                                   Defendant’s Interim Sealing Motion
                                         3:21-cv-03496-AMO
     Case 3:21-cv-03496-AMO          Document 294         Filed 11/11/24      Page 2 of 4



1                                NOTICE OF MOTION AND MOTION

2                   Pursuant to Civil Local Rules 7-11 and 79-5(f), and the Joint Stipulation and

3    Order Regarding Omnibus Sealing Procedures, Dkt. 242, Defendant Intuitive Surgical, Inc.

4    (“Intuitive”) files this Interim Sealing Motion with respect to Intuitive’s Motion in Limine No. 4

5    to Preclude Plaintiff from Offering Evidence or Argument Concerning Post-November 2022

6    Events (“Intuitive’s Motion in Limine No. 4”), as well as the opposition thereto, and the

7    declarations in support of and exhibits to each.

8                   Consistent with the Joint Stipulation and Order Regarding Omnibus Sealing

9    Procedures, Dkt. 242, Intuitive will notify any affected third parties and, within 14 days after

10   filing this Motion in Limine No. 4, the parties will file an omnibus sealing motion attaching (a)

11   support for any Party’s or third party’s request to maintain under seal any documents or portions

12   of documents; and (b) attaching a proposed order with a chart listing all documents that a Party

13   or third party seeks to maintain under seal. See id. at ¶¶ 2–3.

14

15    Dated: November 11, 2024                          By: /s/ Kenneth A. Gallo
                                                            Kenneth A. Gallo
16
                                                        Kenneth A. Gallo (pro hac vice)
17                                                      Paul D. Brachman (pro hac vice)
                                                        PAUL, WEISS, RIFKIND, WHARTON &
18
                                                        GARRISON LLP
19                                                      2001 K Street, NW
                                                        Washington, DC 20006-1047
20                                                      Telephone: (202) 223-7300
                                                        Facsimile: (202) 204-7420
21                                                      Email: kgallo@paulweiss.com
22                                                      Email: pbrachman@paulweiss.com

23                                                      William B. Michael (pro hac vice)
                                                        Crystal L. Parker (pro hac vice)
24                                                      Daniel A. Crane (pro hac vice)
                                                        PAUL, WEISS, RIFKIND, WHARTON &
25
                                                        GARRISON LLP
26                                                      1285 Avenue of the Americas
                                                        New York, NY 10019-6064
27                                                      Telephone: (212) 373-3000
                                                        Facsimile: (212) 757-3990
28

                                                   -2-
                                    Defendant’s Interim Sealing Motion
                                          3:21-cv-03496-AMO
     Case 3:21-cv-03496-AMO    Document 294      Filed 11/11/24     Page 3 of 4



1                                              Email: wmichael@paulweiss.com
                                               Email: cparker@paulweiss.com
2                                              Email: dcrane@paulweiss.com
3
                                               Joshua Hill Jr. (SBN 250842)
4                                              PAUL, WEISS, RIFKIND, WHARTON &
                                               GARRISON LLP
5                                              535 Mission Street, 24th Floor
                                               San Francisco, CA 94105
6                                              Telephone: (628) 432-5100
7                                              Facsimile: (628) 232-3101
                                               Email: jhill@paulweiss.com
8
                                               Sonya D. Winner (SBN 200348)
9                                              COVINGTON & BURLINGTON LLP
                                               415 Mission Street, Suite 5400
10
                                               San Francisco, California 94105-2533
11                                             Telephone: (415) 591-6000
                                               Facsimile: (415) 591-6091
12                                             Email: swinner@cov.com
13                                             Kathryn E. Cahoy (SBN 298777)
14                                             COVINGTON & BURLINGTON LLP
                                               3000 El Camino Real
15                                             5 Palo Alto Square, 10th Floor
                                               Palo Alto, California 94306-2112
16                                             Telephone: (650) 632-4700
                                               Facsimile: (650) w632-4800
17
                                               Email: kcahoy@cov.com
18
                                               Andrew Lazerow (pro hac vice)
19                                             COVINGTON & BURLINGTON LLP
                                               One City Center 850 Tenth Street NW
20                                             Washington DC 20001-4956
21                                             Telephone: (202) 662-6000
                                               Facsimile: (202) 662-6291
22                                             Email: alazerow@cov.com

23                                             Allen Ruby (SBN 47109)
                                               ALLEN RUBY, ATTORNEY AT LAW
24
                                               15559 Union Ave. #138
25                                             Los Gatos, California 95032
                                               Telephone: (408) 477-9690
26                                             Email: allen@allenruby.com
27                                             Attorneys for Defendant
28                                             Intuitive Surgical, Inc.

                                              -3-
                              Defendant’s Interim Sealing Motion
                                    3:21-cv-03496-AMO
     Case 3:21-cv-03496-AMO         Document 294        Filed 11/11/24      Page 4 of 4



1                                    CERTIFICATE OF SERVICE

2                   On November 11, 2024, I caused a copy of Defendant’s Interim Sealing Motion
3    to be electronically filed via the Court’s Electronic Case Filing System and served via email on
4    counsel of record for Surgical Instrument Service Company, Inc.
5
      Dated: November 11, 2024                        By: /s/ Kenneth A. Gallo
6                                                         Kenneth A. Gallo

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